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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

L. LIN WOOD,
         Plaintiff,

v.                                         CIVIL ACTION FILE

PAULA J. FREDERICK, CONNIE                 NO.: 1:21-CV-01169-TCB
S. COOPER, JEFFREY R.
HARRIS, CASEY CARTER                 DEFENDANTS’ MOTION TO
SANTAS, PATRICIA F. AMMARI,          DISMISS AND BRIEF IN
KAYLA E. COOPER, ELIZABETH           SUPPORT THEREOF
L. FITE, ELISSA B. HAYNES,
MARGARET W. SIGMAN
PUCCINI, SHERRY BOSTON,
ELIZABETH POOL O’NEAL,
DAVID F. RICHARDS, JENNIFER
D. WARD, MICHAEL FULLER,
SR., JENNIFER ELIZABETH
DUNLAP, CHRISTIAN J.
STEINMETZ, III, BRANDON L.
PEAK, TOMIEKA DANIEL,
CHRISTOPHER SUTTON
CONNELLY, MELODY
GLOUTON, and DAWN JONES,

           Defendants.
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                         STATEMENT OF THE ISSUES

1. Should this Court decline to intervene based on the Younger doctrine?

2. Does this Court have subject matter jurisdiction over Plaintiff’s claims?

3. Is Plaintiff’s action for compensatory damages barred by judicial immunity?

4. Is Plaintiff entitled to an injunction?

5. Are Plaintiff’s claims barred by qualified immunity?

6. Should the Court dismiss Plaintiff’s claims for attorneys’ fees?




                                             [3]
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                       I.      FACTUAL BACKGROUND

       A. Current Grievance Against Plaintiff

       Plaintiff is a lawyer and a member of the State Bar of Georgia. The instant

action arises out of disciplinary proceedings undertaken against Plaintiff by the State

Bar. On February 11, 2021, the State Bar sent Plaintiff a Notice of Investigation of

a grievance. Plaintiff received a copy of the grievance, which included evidence and

information totaling nearly 1700 pages. [Dkt. 31-1, p. 14] The information

included1:

1. Wade, et al., v. Wood, Fulton County Superior Court, Civil Action File Number

2020-cv-339937- Plaintiff is involved in a pending case with his former colleagues

from L. Lin Wood, P.C. The former colleagues filed a verified complaint, in which

they state that:

              a. Plaintiff began to display “erratic, abusive, and unprofessional

       behavior.” Plaintiff’s former colleagues averred that Wood was becoming

       “increasingly…hostile…and threatening” and that Wood sent “abusive,

       incoherent phone calls, voicemails, texts, and emails” to the former law


1
  The Court may take judicial notice of certain facts, including public records,
without converting a motion to dismiss into a motion for summary judgment.
Universal Express, Inc. v. U.S. S.E.C., 177 F. App'x 52, 53 (11th Cir. 2006).
Defendants request that the Court take judicial notice of the fact that Defendants had
this information available to them as they took action relating to Plaintiff.
                                          [1]
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colleagues in the middle of the night. [Ex. A, Verified Complaint, pp. 28- 30.]

       b. Plaintiff physically attacked two of his former colleagues. Wood

attacked one of them in an elevator. He attacked another at Plaintiff’s home

when the colleague went there out of concern for Plaintiff’s wellbeing.

Plaintiff acknowledged and apologized for the attacks. [Id., p. 29] In a

subsequent voicemail, Plaintiff threatened to beat one of his former law

colleagues with a switch until “he couldn’t sit down for 20 fucking years.”

[Id., p. 43.] Plaintiff left a voicemail for a former law colleague: “Man oh

man, you’re glad you’re not with me in an elevator with me [sic] right now

buddy[,]” apparently referencing the previous physical attack. [Id., pp. 43-

44.]

       c. Plaintiff also threatened to “destroy” his former law colleagues and

said about one of them specifically, “by the time I am through with [him], he’s

going to wish all I had done was fuck his wife.” [Id., p. 32.]

       d. On a 3.5 hour teleconference, Plaintiff spoke nearly non-stop and

offered to fight his former law colleagues to the death. [Id., p. 33.]

       f. Plaintiff declared that he was doing God’s will; threatened to bring

down the wrath of God; promised that Plaintiffs would be punished “at the

discretion of Almighty God”; said “God Almighty told me to get you back to

where you belong. Broke and essentially homeless.... You all better get on


                                   [2]
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      your knees and pray to Almighty God that He now asks me to show you

      mercy”; threatened “I will deliver a fiery judgment against you on earth. Who

      the fuck did you think you were dealing with? You were screwing around with

      me, but I was someone else in disguise. You in fact have been screwing around

      with God Almighty....” Plaintiff said that he would “make sure that you never

      practice law again ever if you do not admit your sins, all of them by 10:30

      a.m.” [Id., pp. 37-38.]

             g. Plaintiff voiced repeated concerns about his misconduct being

      disclosed, as he feared it would interfere with his supposedly imminent receipt

      of the Presidential Medal of Freedom and appointment as the Chief Justice of

      the United States Supreme Court. Plaintiff believed his appointment was

      forthcoming due to a prophesy he heard in a YouTube video and a conspiracy

      theory that Chief Justice John Roberts would be revealed to be part of Jeffrey

      Epstein’s sex trafficking ring and was being blackmailed by liberals to rule in

      their favor. [Id., p. 52.]

      2. Revocation of pro hac vice admission: On January 11, 2021, Plaintiff’s pro

hac vice admission was revoked in Delaware Superior Court. Judge Craig A.

Karsnitz noted that the Georgia election case that Plaintiff was involved in was

“textbook frivolous litigation.” Judge Karsnitz ruled that Plaintiff’s conduct in

certain of the post-election cases “exhibited a toxic stew of mendacity,


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prevarication, and surprising incompetence.” Ex. B, p. 3, 6, and 7 (emphasis

added). Plaintiff’s post-election suits include a Wisconsin case in which Plaintiff

brought suit on behalf of someone who had not consented to be a plaintiff in the

case. Feehan v. Wisc. Elections Comm’n, U.S. District Court, Eastern District of

Wisconsin, 20-cv-1771. In dismissing the case, the Court noted that the plaintiff

“seems to have made up the ‘quote’ in his brief that purports to be from a [7th circuit

case].” 20-cv-1771, Dkt. 83, p. 4.

       3. Plaintiff’s Public Statements: As widely reported in the press, Plaintiff’s

recent public statements include calling for the execution of the then sitting Vice

President2, alleging that the Chief Justice of the United States Supreme Court is

involved in a pedophilic cult, and alleging that former Secretary of State Hillary

Clinton and the FBI were involved in a plan to murder federal judges after the 2016

election. [Ex. C, Article compiling Plaintiff’s tweets from The Daily Beast; Ex. D,

E, and F, Plaintiff’s Telegram Posts]

         B. Request For Consensual Mental Health Evaluation

       On February 11, 2021, the State Bar, at the direction of the State Disciplinary

Board (“SDB”) and under the auspices of Rule 4-104, wrote Plaintiff to request that

he consent to a confidential evaluation by a mental health professional. The


2
 https://www.newsweek.com/parler-nixes-firing-squad-post-pro-trump-lawyer-lin-wood-after-
his-twitter-suspension-1560259. Plaintiff’s post was deleted by Parler for violation of its rules
against encouraging violent or lawless action.
                                                [4]
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evaluation would be paid for by the State Bar. [Dkt. 1, p. 10] The request was made

as a part of the disciplinary investigation into Plaintiff’s conduct. Plaintiff asked for

and was granted an extension to March 15, 2021 to respond to the request. [Id., pp.

11-12]

      Pursuant to Bar Rule 4-104, mental illness, cognitive impairment, alcohol

abuse, and drug abuse, to the extent they impair a lawyer’s competency, shall be

grounds for removing a lawyer from the practice of law. If the SDB determines that

a lawyer may be impaired or incapacitated for any of the above reasons, it may refer

the lawyer to an appropriate professional for the purpose of evaluation and possible

referral to treatment or peer support groups. The SDB may defer disciplinary

findings or proceedings “to afford the lawyer an opportunity to be evaluated, and, if

necessary, to begin recovery.” Also, an attorney’s attempt to address his mental

health or substance abuse issues may be a mitigating factor in determining the level

of discipline imposed on the attorney. In re LeDoux, 288 Ga. 777, 778, 707 S.E.2d

88, 90 (2011), reinstatement granted sub nom. Matter of LeDoux, 303 Ga. 804, 816

S.E.2d 1 (2018) and In re Rand, 279 Ga. 555, 556, 616 S.E.2d 452, 453 (2005).

      The request for consensual evaluation is part of the investigation into the

grievance. It is not an adjudicative proceeding itself, so there is no due process

opportunity to be heard before the request is made. Contrary to the implication in

Plaintiff’s Complaint, the Bar cannot compel a lawyer to undergo an evaluation. If


                                           [5]
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the lawyer agrees to participate, he adds information and context that the SDB can

use to evaluate the matter. If he refuses, he cannot be suspended or disbarred without

further process and an Order from the Georgia Supreme Court.

      C. The Grievance Process

      The process for disciplining a Georgia attorney contains numerous

opportunities for the attorney to challenge the sufficiency of the evidence against

him and to assert any protections afforded by the U.S. or Georgia Constitutions. No

discipline is administered to any attorney before he has a right to respond. Further,

only the Georgia Supreme Court has the authority to administer public discipline

against an attorney.

      The Office of the General Counsel (“OGC”) analyzes submitted grievances

and investigates attorney conduct. If the OGC determines that the attorney may have

violated a rule of professional conduct, the matter is referred to the SDB. Bar Rule

4-202. A Notice of Investigation is sent to the lawyer, who is given an opportunity

to respond to the allegations. Bar Rule 4-204.4. The SDB is vested with the power

to investigate and recommend discipline for lawyers for violations of the Georgia

Rules of Professional Conduct. Bar Rules 4-201, 4-203. The SDB conducts a

probable cause investigation, which consists of collecting evidence and information.

If the SDB determines there is probable cause that an attorney violated a rule of

professional conduct, it has several options including dismissal, confidential


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discipline, or referral to the Georgia Supreme Court for public disciplinary

proceeding.

      If the matter is docketed in the Georgia Supreme Court with a formal

complaint, the attorney has an opportunity to file an answer. Then the parties may

engage in discovery, file motions and discuss possible voluntary discipline. Bar Rule

4-212. The special master is authorized to conduct a formal disciplinary hearing,

including deciding questions of law or fact. In appropriate cases, the special master

may make a recommendation of discipline via a report filed with the Clerk of the

SDB. Bar Rule 4-213. The attorney and the State Bar may file exceptions to the

report and request a review by the State Disciplinary Review Board (“SDRB”). Bar

Rule 4-214. If a review is requested, the SDRB reviews the report. Conclusions of

law are reviewed de novo. Conclusions of fact are reviewed under a “clearly

erroneous” standard. The SDRB can recommend dismissal of the disciplinary action

outright or change the discipline recommended by the special master. Bar Rules 4-

215 and 4-216.

      Once the special master’s report and SDRB report (if any) are filed with the

Georgia Supreme Court, the attorney and the State Bar may file written exceptions

to the report, including allegations of errors in the hearing. Bar Rule 4-213. After

review of the record, including any exceptions, the Georgia Supreme Court enters

judgment. Bar Rule 4-218.


                                         [7]
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      In all disciplinary proceedings, the State Bar of Georgia has the burden of

proof, other than in cases involving an attorney convicted of certain crimes. The

quantum of proof is by “clear and convincing evidence.” Bar Rule 4-221.2. At each

stage of the public proceeding, the attorney can raise substantive defenses and

constitutional challenges.

      D. Plaintiff’s Lawsuit Against State Bar Officials

      Plaintiff filed the instant lawsuit on March 23, 2021 against twenty-one

defendants. [Dkt. 1, pp. 4-10] Eighteen are current members of the SDB. As to the

other three, Defendant Glouton is a past member of the Investigative Panel; her term

ended before Wood’s disciplinary action was taken up. Defendant Jones was an ex

officio member of the SDB while she was president-elect of the State Bar. She is not

a current member of the SDB and was not involved in any deliberations or decisions

relating to Plaintiff. Defendant Frederick is General Counsel for the State Bar and is

not a member of the SDB.

      Plaintiff asks this Court to enter an injunction enjoining Defendants from

“requir[ing] him to undergo a medical, mental, psychiatric, or psychological

examination[.]” As discussed further below, Defendants cannot “require” Plaintiff

to undergo a mental health evaluation. Plaintiff also seeks an Order declaring that

Defendants’ alleged “actions in requiring the Plaintiff to consent to a medical,

mental, psychiatric or psychological examination to be a violation of his


                                         [8]
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constitutional rights[.]” Finally, Plaintiff seeks compensatory damages “in excess of

$75,000[.]” [Dkt 1, pp. 37-38]

                                  II.    ARGUMENT

A. This Court Should Abstain from Intervening Pursuant to the Younger

Doctrine.

      Plaintiff’s request for injunctive relief, declaratory relief, and money damages

is a request for this Court to intervene in the ongoing disciplinary proceedings

currently pending in the Georgia Supreme Court against Plaintiff. As the United

States Supreme Court has held, “since the beginning of this country's history

Congress has, subject to few exceptions, manifested a desire to permit state courts

to try state cases free from interference by federal courts.” Younger v. Harris, 401

U.S. 37, 43, 91 S. Ct. 746, 750, 27 L. Ed. 2d 669 (1971).

      The United States Supreme Court held that the Younger doctrine applies in

three categories of cases: (1) State criminal proceedings, (2) certain civil

enforcement proceedings, and (3) civil proceedings involving certain orders

“uniquely in furtherance of the state courts’ ability to perform their judicial

functions. Sprint Commc'ns, Inc. v. Jacobs, 571 U.S. 69, 78, 134 S. Ct. 584, 591,

187 L. Ed. 2d 505 (2013). A State Bar disciplinary proceeding falls into the second




                                         [9]
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category.3 The Court held that “[s]uch enforcement actions are characteristically

initiated to sanction the federal plaintiff, i.e., the party challenging the state action,

for some wrongful act[.]” As an example of such a civil enforcement proceeding that

would give rise to Younger abstention, the Court cited New Jersey’s attorney

discipline action at issue in the Middlesex case. Id., referencing Middlesex Cty.

Ethics Comm. v. Garden State Bar Ass'n, 457 U.S. 423, 102 S. Ct. 2515, 73 L. Ed.

2d 116 (1982).

      Once it is determined that a case falls into one of those three categories

outlined in the Sprint case, as this case does, the Court must then apply three

additional factors from the Middlesex case: (1) Whether state proceedings are

currently pending; (2) whether the proceedings involve an important state interest;

and (3) whether the state proceedings will provide the federal plaintiff with an

adequate opportunity to raise his constitutional claims. Middlesex, 457 U.S. at 432–

34.

      All three factors favor abstention when applied to the facts of this case. (1)The

grievance proceedings are currently pending against Plaintiff. (2) Georgia has an

“extremely important interest in maintaining and assuring the professional conduct

of the attorneys it licenses.” Middlesex Cty. Ethics Comm. v. Garden State Bar Ass'n,



3
  To the extent Plaintiff’s disciplinary action generates an order, it will implicate the
third category as well.
                                           [10]
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457 U.S. 423, 435, 102 S. Ct. 2515, 2523, 73 L. Ed. 2d 116 (1982). (3) Grievance

proceedings, which involve a hearing before a special master, a right to State

Disciplinary Board review, and final consideration by the Georgia Supreme Court,

give Plaintiff ample opportunity to raise and preserve his constitutional concerns.

      In the Middlesex case, the Court ruled that New Jersey’s disciplinary

proceedings, like Georgia’s, involve review by the state’s highest court, which were

adequate for an attorney to raise constitutional objections. As such, it was

appropriate for the federal court to abstain. Id. at 427. Plaintiff bears the burden of

proving that the State Bar’s grievance proceedings are inadequate, since “[m]inimal

respect for the state processes, of course, precludes any presumption that the state

courts will not safeguard federal constitutional rights.” Middlesex, at 431 (emphasis

in original). See also Butler v. Alabama Jud. Inquiry Comm'n, 245 F.3d 1257, 1262

(11th Cir.), certified question answered, 802 So. 2d 207 (Ala. 2001).

      The Court’s obligation to abstain applies not only to Plaintiff’s request for an

injunction, but also for his claim for declaratory judgment. The Younger doctrine

applies to claims for declaratory judgment that would effectively enjoin state

proceedings. See Old Republic Union Ins. Co. v. Tillis Trucking Co., 124 F.3d 1258,

1261 (11th Cir.1997). The declaratory judgment sought by Plaintiff in this action,

that the Defendants’ actions are unconstitutional, would have the effect of enjoining




                                         [11]
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the state proceedings. As such, Younger abstention applies to Plaintiff’s request for

a declaratory judgment.

      Younger abstention is also appropriate in § 1983 actions for money damages,

where the plaintiff raises the same issues in the state action and the federal case.

Doby v. Strength, 758 F.2d 1405, 1406 (11th Cir. 1985). The issues that Plaintiff

raises in support of his § 1983 claims; namely, that Defendants violated his free

speech rights and his constitutional right to privacy, are arguments that Plaintiff can

or has raised in the disciplinary proceeding. As such, Younger abstention applies to

Plaintiff’s § 1983 claims.

      This Court was faced with a nearly identical fact pattern in 1992 in the matter

of Cohran v. State Bar of Georgia. In that case, Cohran filed an action in the Federal

District Court for the Northern District of Georgia seeking an injunction to enjoin

the State Bar and its employees from continuing disciplinary proceedings against

him. The District Court refused to grant injunctive relief, holding that Federal Courts

should abstain from interfering with a state bar’s ongoing disciplinary actions

against its attorneys. The District Court held that Georgia had a great interest in

regulating the practice of law in its state “since lawyers are essential to the primary

governmental function of administering justice, and have historically been ‘officers

of the courts.’” Cohran v. State Bar of Georgia, 790 F. Supp. 1568, 1571 (N.D. Ga.

1992).


                                         [12]
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      The reasoning behind the Cohran decision is equally applicable to the instant

case. It is important to note that Cohran, like Plaintiff here, tried to invoke the

Disrtrict Court’s jurisdiction by raising constitutional claims. The District Court held

that, since Cohran had a chance to raise his constitutional claims before the Georgia

Supreme Court, the District Court had no need to intervene. The Court held that the

fact that Cohran “failed to prevail on federal constitutional grounds [in proceedings

in front of the Georgia Supreme Court] does not mean he was denied the opportunity

to raise those claims.” Cohran, at 1571 (N.D. Ga. 1992).

      The United State Supreme Court has held that “it is perfectly natural for our

cases to repeat time and time again that the normal thing to do when federal courts

are asked to enjoin pending proceedings in state courts is not to issue such

injunctions.” Younger, at 45 (1971). This case presents no reason to make an

exception to this general rule. This Court should decline Plaintiff’s request to

intercede and interfere in the pending disciplinary action.

B. This Court Lacks Subject-Matter Jurisdiction Over Plaintiff’s Claims.

      Subject-matter jurisdiction can never be waived or conferred by the consent

of the parties. This Court is “duty-bound” to determine the basis for subject-matter

jurisdiction in this Court and “to dismiss for lack of jurisdiction any case in which it

is found to be wanting.” Latin Am. Prop. & Cas. Ins. Co. v. Hi-Lift Marina, Inc., 887

F.2d 1477, 1479 (11th Cir. 1989). See also, Federal Rule of Civil Procedure 12(b)(1).


                                          [13]
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If faced with factual disputes regarding subject matter jurisdiction, the Court acts as

the fact-finder and may weigh the evidence, provided that the challenge to subject-

matter jurisdiction does not implicate an element of the cause of action. Scarfo v.

Ginsberg, 175 F.3d 957, 961 (11th Cir. 1999).

      Pursuant to Georgia statute, the Supreme Court of Georgia is the only Court

with subject-matter jurisdiction over “a cause of action whereby a party seeks to

challenge the action or inaction of the State Bar or any person in connection with a

disciplinary proceeding.” Wallace v. State Bar of Georgia, 268 Ga. 166, 167, 486

S.E.2d 165, 167 (1997)(citing Rule 4–225)4. This is because “[t]he regulation of the

practice of law is a judicial function…The Supreme Court of Georgia is endowed

with the inherent and exclusive authority to govern the practice of law in

Georgia.” Id. (emphasis added). Since Plaintiff’s action clearly relates to the actions

of the SDB in connection with Plaintiff’s disciplinary proceedings, this Court lacks

subject-matter jurisdiction over Plaintiff’s claims and must dismiss the instant

action.

      If the Georgia Supreme Court issues an adverse final ruling in Plaintiff’s

disciplinary matter, Plaintiff will have the opportunity to seek appellate review in

the United States Supreme Court: “[O]rders of a state court relating to the admission,


4
 The State Bar of Georgia is the administrative arm of the Georgia Supreme Court.
See O.C.G.A. § 15-19-30 and Wallace v. Wallace, 225 Ga. 102, 113, 166 S.E.2d
718, 725 (1969).
                                         [14]
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discipline, and disbarment of members of its bar may be reviewed only by the

Supreme Court of the United States on certiorari to the state court, and not by

means of an original action in a lower federal court.” Cohran, at, 1572 (N.D. Ga.

1992)(emphasis added).

      Plaintiff is aware that this Court lacks jurisdiction over his claims. On March

31, 2021, Plaintiff filed a petition in the Georgia Supreme Court asking for a stay of

the disciplinary proceedings against him. [Ex. G, Petition]. In that petition, Plaintiff

states, referring to the Georgia Supreme Court:

      “This Court is vested with original and exclusive jurisdiction to hear
      and determine the issues presented in this Petition pursuant to GA Bar
      Rule 4-225 which provides as follows: ‘The State Disciplinary Board
      and any person who is connected with disciplinary proceedings in
      any way shall not be subject to the jurisdiction of any court other
      than the Supreme Court with respect thereto, except as provided in
      Rules 4-214, 4-215, and Rule 4-216.’” [Id., p. 2, emphasis added]

      As Plaintiff stated, the Georgia Supreme Court has original and exclusive

jurisdiction over this matter.5 Plaintiff’s claims must be dismissed for lack of

jurisdiction.




5
  On May 3, 2021, the Georgia Supreme Court dismissed Plaintiff’s Petition,
declining to exercise its original jurisdiction to take up Plaintiff’s request for a stay
of the disciplinary proceedings at this time. [Ex. G] As discussed above, if probable
cause is found and this matter proceeds to public disciplinary proceedings, Plaintiff
will be able to make constitutional and factual arguments to the Georgia Supreme
Court before any public discipline is imposed.
                                          [15]
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C.    Plaintiff’s Claims for Monetary Damages are Barred by Judicial

Immunity

      The State Bar of Georgia is an administrative arm of the Supreme Court of

Georgia. It “is authorized to maintain and enforce standards of conduct to be

observed by members of the State Bar and those authorized to practice law in

Georgia.” Scanlon v. State Bar of Georgia, 264 Ga. 251, 252, 443 S.E.2d 830, 831

(1994). The exercise of discretion to discipline an attorney or to decline to do so is

analogous to the decision of a judicial officer. See Emory v. Peeler, 756 F.2d 1547,

1553 (11th Cir. 1985). In fact, the Supreme Court of Georgia has directly provided

for such immunity in the rules establishing the disciplinary process. State Bar of

Georgia Rule 4-226 reads as follows:

      The Supreme Court of Georgia recognizes the disciplinary
      proceedings of the State Bar of Georgia to be judicial and quasi-
      judicial in nature and within the Court’s regulatory function, and
      in connection with such disciplinary proceedings, members of
      the State Disciplinary Boards, the Coordinating Special Master,
      Special Masters, Bar counsel, special prosecutors, investigators,
      and staff are entitled to those immunities customarily
      afforded to persons so participating in judicial and quasi-
      judicial proceedings or engaged in such regulatory activities.
      (emphasis added).

      The doctrine of judicial immunity protects judicial officers from judgments

for money damages in civil suits against them. Emory v. Peeler, 756 F.2d 1547,

1552–53 (11th Cir.1985). When a judicial officer acts within his judicial capacity

and his conduct does not clearly fall outside his subject matter jurisdiction, he is
                                         [16]
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entitled to absolute judicial immunity. Id. at 1553. Further, “[a] judge will not be

deprived of immunity because the action he took was in error, was done maliciously,

or was in excess of his authority; rather, he will be subject to liability only when he

has acted in the ‘clear absence of all jurisdiction.’” Id.

      State bar disciplinary proceedings are judicial in nature. D.C. Court of

Appeals v. Feldman, 460 U.S. 462, 482, 103 S. Ct. 1303, 1314, 75 L. Ed. 2d 206

(1983), n. 15. This immunity applies to individuals who are employees or agents of

the State Bar of Georgia. See Cohran, supra. As such, Plaintiff’s claims for money

damages against all Defendants must be dismissed based on judicial immunity.

D. Plaintiff is Not Entitled to an Injunction

      Plaintiff seeks preliminary and permanent injunctions to enjoin Defendants

from “violating Plaintiff’s constitutional rights…to require that he undergo a

medical, mental, psychiatric, or psychological examination[.]” [Dkt. 1, pp. 37-38]

Plaintiff also filed a separate Motion for Preliminary Injunction. [Dkt. 29]

Defendants will file a separate response regarding that Motion.

      Plaintiff is not entitled to an injunction. Neither Defendants nor anyone else

associated with the State Bar can “require” Plaintiff to undergo a mental health

evaluation. Rather, the State Bar can only request that a lawyer consent to an

evaluation. If the lawyer agrees, he adds information and context that the SDB can




                                          [17]
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use to evaluate the matter. In this case, Plaintiff did not consent to the evaluation

before the expiration of the extended deadline.

      Plaintiff claims that he faces “an all but certain suspension of his law license

if he does not consent to undergo a mental health evaluation[.]” [Id., p. 27] This is

incorrect. Plaintiff’s law license will not be suspended or revoked until and unless:

              The full disciplinary process described above is complete; or

              The State Bar pursues an emergency suspension of Plaintiff’s

                license, which can only occur after the process laid out in Rule 4-

                108, which requires:

                   o An initial finding that there is “sufficient evidence

                       demonstrating that a lawyer’s conduct poses a substantial

                       threat of harm to his client or the public[.]”; and

                   o A hearing conducted by a special master; at which the lawyer

                       can contest the evidentiary and legal basis of the claims

                       against him; and

                   o A recommendation by the special master that the lawyer’s

                       license be suspended; and

                   o The Georgia Supreme Court accepts the recommendation and

                       temporarily suspends the lawyer’s license.

      Note that the emergency suspension procedure is not limited to instances

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where a lawyer refuses a request for a consensual mental health evaluation; it is

available regardless of whether such request is made, refused, or accepted. There is

simply no immediate threat to Plaintiff. There are no grounds for an injunction.

Plaintiff will have ample opportunity to raise his concerns involving his

constitutional rights in the disciplinary process.

E. Plaintiff’s Claims Are Barred by Qualified Immunity

      Plaintiff’s claims against Defendants in their individual capacities for

monetary damages should be dismissed based on qualified immunity. Pursuant to

this doctrine, a state official can have no liability for a discretionary act that “does

not violate clearly established statutory or constitutional rights of which a reasonable

person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct.

2727, 2738, 73 L. Ed. 2d 396 (1982). Qualified immunity applies to §1983 cases. Id.

This doctrine is intended to provide government officials with the ability to

“reasonably anticipate when their conduct may give rise to liability for damages.”

Anderson v. Creighton, 483 U.S. 635, 646, 107 S. Ct. 3034, 3042, 97 L. Ed. 2d 523

(1989). An official seeking the protection of qualified immunity must have “been

performing a function that, but for the alleged constitutional infirmity, would have

fallen with his legitimate job description[]” and that this function “was pursued in

authorized manner.” Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1266

(11th Cir. 2004).


                                          [19]
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      As applied to the facts of this case, Defendants’ conduct warrants qualified

immunity protection. Asking Plaintiff to consent to a voluntary mental health

examination, with the benefit of an exhaustive record and pursuant to duly adopted

State Bar Rules, is within Defendants’ job description and was done in an authorized

manner and pose no statutory or constitutional violation. The claims against

Defendants in their individual capacities for money damages should be dismissed

based on qualified immunity.

F.    Plaintiff is Not Entitled to Attorneys’ Fees

      Plaintiff seeks attorneys’ fees pursuant to 42 U.S.C. § 1988. This statute

allows the Court to award attorneys fees to the prevailing party in a § 1983 action.

Since Plaintiff’s case should be dismissed, he is not entitled to attorneys’ fees

pursuant to this or any other statute. Further, § 1988 explicitly states that in actions

brought against judicial officers for acts or omissions within their judicial capacity,

such officers shall not be held liable for any costs, including attorneys’ fees, unless

such action was clearly in excess of such officer’s jurisdiction.




                                          [20]
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                                 III.   CONCLUSION

      For the reasons stated above, Plaintiff’s Complaint should be dismissed in its

entirety.

      Respectfully submitted this 3rd day of May, 20201.

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   CERTIFICATE OF SERVICE AND OF COMPLIANCE WITH LOCAL
                          RULE 5.1
      I hereby certify that on May 3, 2021 a true and correct copy of this document
was filed with the Court via the CM/ECF system. All attorneys identified with the
Court for electronic service on record in this case were served by electronic
transmission in accordance with the CM/ECF system, including the following
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I further certify that I have prepared this document in 14 point Times New Roman
font.



                                                /s/ Patrick N. Arndt




                                          [1]

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